Case 1:24-cv-00183-JAW Document 10-1 Filed 07/29/24 Page 1 of 5                  PageID #: 87



                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE

UNITED STATES OF AMERICA

               v.
                                                         No. 1:24-cv-00183-JAW
FOURTEEN (14) PIT BULL-TYPE DOGS
SEIZED IN MONROE, MAINE,

      DEFENDANTS-IN-REM


                     AFFIDAVIT IN SUPPORT OF ENTRY OF DEFAULT

          1.        I am an Assistant United States Attorney in the United States Attorney’s

Office for the District of Maine. I represent the United States of America in the above-

captioned matter. My knowledge of the facts contained herein comes from information

provided to me by employees and/or contractors with the United States Attorney’s

Office for the District of Maine with personal knowledge and/or who maintain certain

records relating to this matter.

          2.        The United States filed a Verified Complaint for Forfeiture In Rem

(“Complaint”) against the defendants-in-rem on May 20, 2024. Dkt. 1.

          3.        A Warrant of Arrest-in-Rem was issued by the court on May 20, 2024.

Dkt. 3.

          4.        As required by Rule G(4)(a) of the Supplemental Rules of Civil Procedure

for Certain Admiralty and Maritime Claims (the “Supplemental Rules”), notice of this

action was duly published for thirty (30) consecutive days between May 22, 2024, and

June 20, 2024, on the official government website www.forfeiture.gov, as evidenced by

the Declaration filed with this court on June 25, 2024. Dkt. 9. The Declaration was



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Case 1:24-cv-00183-JAW Document 10-1 Filed 07/29/24 Page 2 of 5                  PageID #: 88



accompanied by a copy of the published Notification of Forfeiture Action and an

Advertisement Certification Report. Dkt. 9-1.

       5.       The published Notification of Forfeiture Action gave potential claimants

notice that any claim must be filed within sixty days from the date of first publication

(May 22, 2024). Id. at 1. It further notified potential claimants that an answer (or

motion under Rule 12 of the Federal Rules of Civil Procedure) must be filed within

twenty-one days thereafter. Id.

       6.       As a result, any person claiming a legal interest in the defendants-in-rem,

other than those potential claimants to whom notice was also directly provided, was

required to file a claim by July 22, 2024, and their answer was due no later than August

12, 2024.

       7.       During the period in which the published Notice of Forfeiture Action was

being published daily online, 1 the United States filed a Verified Amended Complaint for

Forfeiture In Rem (“Amended Complaint”) against the defendants-in-rem on May 30,

2024. Dkt. 4.

       8.       On May 30, 2024, as required by Rule G(4)(b)(i) and (iii)(B) of the

Supplemental Rules, David Frazer was served in-hand with a copy of a Notice of

Forfeiture dated May 30, 2024, the Complaint, the Amended Complaint, and the



1       The Amended Complaint corrected a scrivener’s error regarding the date of seizure and
corrected that the defendant-in-rem assigned number USM-013 was female rather than male.
Dkt. 4 at 1-2. The Amended Complaint also added additional descriptors of the colors of the
defendants-in-rem assigned numbers USM-001, USM-012, and USM-013. Dkt. 4 at 1
(describing defendant-in-rem assigned USM-001 as “red or auburn,” defendant-in-rem
assigned USM-012 as “fawn or red/white,” and defendant-in-rem assigned USM-013 as “auburn
or red/brown”). The published Notice of Forfeiture Action, which began being published after
the Complaint—but before the Amended Complaint—was filed, did not include these additional
descriptors of the defendants-in-rem’s colors but did correctly state that the defendant-in-rem
assigned number USMS-013 was female. See Dkt. 9-1 at 1.
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Case 1:24-cv-00183-JAW Document 10-1 Filed 07/29/24 Page 3 of 5                 PageID #: 89



Warrant of Arrest-in-Rem. See Dkt. 7. The Notice of Forfeiture gave Frazer notice that

any claim must be filed within the earlier of: (a) sixty days from the date of first

publication of the Notice and (b) thirty-five days from the date of the Notice. It further

notified Frazer that an answer must be served and filed within twenty-one days after the

filing of the claim.

       9.      As a result, Frazer’s claim was due on July 5, 2024, and his answer was

due no later than July 26, 2024.

       10.     On June 10, 2024, as required by Rule G(4)(b)(i), (iii)(A), and (iii)(B) of

the Supplemental Rules, the United States Attorney’s Office sent by Certified Mail,

Return Receipt Requested, a copy of a Notice of Forfeiture dated June 10, 2024, the

Complaint, the Amended Complaint, and the Warrant of Arrest-in-Rem to Lauren

Thomas, Esquire, legal counsel for potential claimant John Murphy. On June 17, 2024,

Attorney Thomas acknowledged receipt of the Notice of Forfeiture and Amended

Complaint on behalf of her client, John Murphy. Dkt. 5. The Notice of Forfeiture gave

Murphy notice that any claim must be filed within the earlier of: (a) sixty days from the

date of first publication of the Notice and (b) thirty-five days from the date of the Notice.

It further notified Murphy that an answer must be served and filed within twenty-one

days after the filing of the claim.

       11.     As a result, Murphy’s claim was due on July 15, 2024, and his answer was

due no later than August 5, 2024.

       12.     The defendants-in-rem were arrested pursuant to the Warrant of Arrest-

in-Rem on June 11, 2024. Dkt 8.

       13.     On June 13, 2024, as required by Rule G(4)(b)(i) and (iii)(B) of the

Supplemental Rules, Corey Elliot was served in-hand with a copy of a Notice of

                                                 3
Case 1:24-cv-00183-JAW Document 10-1 Filed 07/29/24 Page 4 of 5                 PageID #: 90



Forfeiture dated June 13, 2024, the Complaint, the Amended Complaint, and the

Warrant of Arrest-in-Rem. See Dkt. 6. The Notice of Forfeiture gave Elliot notice that

any claim must be filed within the earlier of: (a) sixty days from the date of first

publication of the Notice and (b) thirty-five days from the date of the Notice. It further

notified Elliot that an answer must be served and filed within twenty-one days after the

filing of the claim.

       14.     As a result, Elliot’s claim was due on July 18, 2024, and his answer was

due no later than August 8, 2024.

       15.     No person—including David Frazer and Corey Elliot—or entity has filed

either a claim or an answer to the Verified Amended Complaint for Forfeiture In Rem,

or has otherwise appeared or answered in this regard, and the time to file such a claim

has expired.

       16.     Upon information and belief, no person or entity thought to have an

interest in the defendants-in-rem is an infant, incompetent, or presently engaged in

military service.

     Dated at Portland, Maine this 29th day of July, 2024.

                                                  /s/ Nicholas Heimbach
                                                  Nicholas Heimbach
                                                  Assistant United States Attorney
                                                  United States Attorney’s Office
                                                  100 Middle Street
                                                  East Tower, 6th Floor
                                                  Portland, ME 04101
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                                                 4
Case 1:24-cv-00183-JAW Document 10-1 Filed 07/29/24 Page 5 of 5        PageID #: 91




STATE OF MAINE
CUMBERLAND, ss.

Subscribed and sworn to before me this 29th day of July, 2024.


                                        /s/ Kimberley Woodward
                                        Kimberley Woodward
                                        Notary Public
                                        My commission expires: November 19, 2026




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